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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA, et al.,
Plaintiffs,
1:23-cv-108 (LMB/JFA)

Vv.

GOOGLE LLC,

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Defendant.
ORDER

For the reasons stated in open court and set forth in the accompanying Memorandum
Opinion,! defendant Google LLC’s Motion to Dismiss the United States’ Damages Claim as
Moot and to Strike the Jury Demand, [Dkt. No. 628], is GRANTED. Accordingly, it is hereby

ORDERED that Count V of plaintiffs’ Amended Complaint be and is DISMISSED AS
MOOT; and it is further

ORDERED that plaintiffs’ jury demand be and is STRICKEN. This civil action will be

scheduled for a bench trial beginning on Monday, September 9, 2024, at 9:00 a.m. in Courtroom

700.
The Clerk is directed to forward copies of this Order to counsel of record.
be
Entered this dk day of June, 2024.
Alexandria, Virginia Is Pug
Leonie M. Brinkema
United States District Judge

' Because the Memorandum Opinion relies on materials that have been filed under seal, it will
not be publicly filed until the parties have had an opportunity to request redactions of highly
confidential information. All requests for redactions must be made by the close of business on
Thursday, June 13, 2024; thereafter, a public version of the Memorandum Opinion will be
docketed.
